Case 2:20-cv-11219-DDP-AFM Document 1 Filed 12/10/20 Page 1 of 21 Page ID #:1




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 6
 7 Counsel for Plaintiff
 8                         UNITED STATES DISTRICT COURT
 9                        CENTRAL DISTRICT OF CALIFORNIA
10   LEE WENZEL, Individually and on            Case No:
11   behalf of all others similarly situated,
                                                CLASS ACTION COMPLAINT FOR
12
             Plaintiff,                         VIOLATIONS OF THE FEDERAL
13                                              SECURITIES LAWS
14   v.
                                                CLASS ACTION
15   SEMICONDUCTOR
16   MANUFACTURING                              JURY TRIAL DEMANDED
     INTERNATIONAL CORPORATION,
17
     ZIXUE ZHOU, HAIJUN ZHAO, and
18   MONG SONG LIANG,
19
            Defendants.
20
21
           Plaintiff Lee Wenzel (“Plaintiff”), individually and on behalf of all other
22
     persons similarly situated, by Plaintiff’s undersigned attorneys, for Plaintiff’s
23
     complaint against Defendants (defined below), alleges the following based upon
24
     personal knowledge as to Plaintiff and Plaintiff’s own acts, and information and
25
26 belief as to all other matters, based upon, inter alia, the investigation conducted by
27 and through her attorneys, which included, among other things, a review of the
28 Defendants’ public documents, announcements, public filings, wire and press

                                            -1-
             Class Action Complaint for Violation of the Federal Securities Laws
Case 2:20-cv-11219-DDP-AFM Document 1 Filed 12/10/20 Page 2 of 21 Page ID #:2




 1 releases published by and regarding Semiconductor Manufacturing International
 2 Corporation (“SMIC” or the “Company”), and information readily obtainable on the
 3 Internet. Plaintiff believes that substantial evidentiary support will exist for the
 4 allegations set forth herein after a reasonable opportunity for discovery.
 5
                                NATURE OF THE ACTION
 6
          1.    This is a class action on behalf of persons or entities who purchased or
 7
   otherwise acquired publicly traded SMIC securities between April 23, 2020 and
 8
 9 September 26, 2020, inclusive (the “Class Period”). Plaintiff seeks to recover
10 compensable damages caused by Defendants’ violations of the federal securities laws
11 under the Securities Exchange Act of 1934 (the “Exchange Act”) and Rule 10b-5
12 promulgated thereunder.
13                              JURISDICTION AND VENUE
14        2.       The claims asserted herein arise under and pursuant to §§10(b) and 20(a)
15 of the Exchange Act (15 U.S.C. §78j(b) and §78t(a)) and Rule 10b-5 promulgated
16
   thereunder by the SEC (17 C.F.R. §240.10b-5).
17
          3.     This Court has jurisdiction over the subject matter of this action under
18
   28 U.S.C. §1331 and §27 of the Exchange Act.
19
          4.     This Court has jurisdiction over each defendant named herein because
20
   each defendant has sufficient minimum contacts with this judicial district so as to
21
   render the exercise of jurisdiction by this Court permissible under traditional notions
22
   of fair play and substantial justice.
23
          5.     Venue is proper in this District pursuant to §27 of the Exchange Act and
24
   28 U.S.C. §1391(b) as Defendants conducts business in this District and a significant
25
   portion of the Defendants’ actions and the subsequent damages took place within this
26
   District.
27
28

                                              -2-
               Class Action Complaint for Violation of the Federal Securities Laws
Case 2:20-cv-11219-DDP-AFM Document 1 Filed 12/10/20 Page 3 of 21 Page ID #:3




 1        6.       In connection with the acts, conduct and other wrongs alleged in this
 2 Complaint, Defendants, directly or indirectly, used the means and instrumentalities of
 3 interstate commerce, including but not limited to, the United States mail, interstate
 4 telephone communications and the facilities of the national securities exchange.
 5
                                         PARTIES
 6
         7.    Plaintiff, as set forth in the accompanying Certification, purchased the
 7
   Company’s securities at artificially inflated prices during the Class Period and was
 8
 9 damaged upon the revelation of the alleged corrective disclosure.
10        8.       Defendant SMIC purports to be an investment holding company

11 principally engaged in the computer-aided design, manufacture, testing, packaging
12 and trading of integrated circuits (“IC”), as well as the provision of other
13 semiconductor services. The Company is also involved in the design and manufacture
14 of semiconductor masks and various types of wafers. The Company distributes its
15 products in China and to overseas markets, such as the Europe and the United States.
16       9.     The Company is incorporated in the Cayman Islands and its

17 headquarters are located at No. 18 Zhangjiang Road, Pudong New Area, Shanghai
18 201203, People’s Republic of China. The Company’s sponsored American depositary
19 receipts (“ADRs”) trade over-the-counter on the OTCQX exchange under the ticker
20 symbol “SMICY.”
21        10.      Defendant Zixue Zhou (“Zhou”) has served as the Company’s Chairman

22 throughout the Class Period.
23       11. Defendant Haijun Zhao (“Zhao”) has served as the Company’s Co-

24 Chief Executive Officer (“Co-CEO”) and Executive Director throughout the Class
25 Period.
26        12.      Mong Song Liang (“Liang”) has served as the Company’s Co-CEO and

27 Executive Director throughout the Class Period.
28

                                              -3-
               Class Action Complaint for Violation of the Federal Securities Laws
Case 2:20-cv-11219-DDP-AFM Document 1 Filed 12/10/20 Page 4 of 21 Page ID #:4




 1         13.   Defendants Zhou, Zhao, and Liang are collectively referred to herein as
 2 the “Individual Defendants.”
 3        14. Each of the Individual Defendants:
 4         (a)   directly participated in the management of the Company;
 5         (b)   was directly involved in the day-to-day operations of the Company at the
 6
                 highest levels;
 7
           (c)   was privy to confidential proprietary information concerning the
 8
                 Company and its business and operations;
 9
           (d)   was directly or indirectly involved in drafting, producing, reviewing
10
                 and/or disseminating the false and misleading statements and
11
                 information alleged herein;
12
           (e)   was directly or indirectly involved in the oversight or implementation of
13
14               the Company’s internal controls;

15         (f)   was aware of or recklessly disregarded the fact that the false and

16               misleading statements were being issued concerning the Company;
17               and/or
18         (g)   approved or ratified these statements in violation of the federal securities
19               laws.
20         15.   The Company is liable for the acts of the Individual Defendants and its
21 employees under the doctrine of respondeat superior and common law principles of
22 agency because all of the wrongful acts complained of herein were carried out within
23 the scope of their employment.
24        16. The scienter of the Individual Defendants and other employees and
25 agents of the Company is similarly imputed to the Company under respondeat
26
     superior and agency principles.
27
28

                                            -4-
             Class Action Complaint for Violation of the Federal Securities Laws
Case 2:20-cv-11219-DDP-AFM Document 1 Filed 12/10/20 Page 5 of 21 Page ID #:5




 1         17.    The Company and the Individual Defendants are referred to herein,
 2 collectively, as the “Defendants.”
 3                           SUBSTANTIVE ALLEGATIONS
 4                      Materially False and Misleading Statements
 5         18.    On April 23, 2020, SMIC filed its 2019 Annual Report with the Stock
 6
     Exchange of Hong Kong (the “HKEX”). The 2019 Annual Report included a “Letter
 7
     to Shareholders” which was signed by Defendants Zhou, Zhao, and Liang, and stated
 8
     the following regarding SMIC’s overseas relationships and business:
 9
10         . . . Over the past two years, through strenuous corporate reform, we
11         have built up stronger and more competent R&D, operations, supporting
           teams, and management, while successfully developing and preparing a
12
           variety of technology platforms. We also have strengthened mutual
13         trust and cooperation with domestic and oversea customers and
14         suppliers. The foundation laid by these vigorous efforts has further
           strengthened our confidence in the future.
15
16         We would like to again express our sincere gratitude to our shareholders,
           customers, suppliers, and employees for their continued care and support
17
           of SMIC.
18
19         (Emphasis added.)

20
           19.    The 2019 Annual Report stated the following, in pertinent part,
21
     regarding its overseas business:
22
23         With an expanded manufacturing base, well-balanced technology
24         portfolio and one-stop shop service offerings, the Group is well
           positioned with its global operations to serve both domestic and
25         worldwide customers.
26
                                        *     *      *
27
28

                                            -5-
             Class Action Complaint for Violation of the Federal Securities Laws
Case 2:20-cv-11219-DDP-AFM Document 1 Filed 12/10/20 Page 6 of 21 Page ID #:6




 1       CUSTOMERS AND MARKETS
 2       The Group continues to serve a broad global customer base comprising
 3       leading integrated device manufacturers, fabless semiconductor
         companies and system companies. Geographically, customers from the
 4
         North America contributed 26.4% of the Group’s overall revenue in
 5       2019, compared to 31.6% in 2018. Leveraging on the Group’s strategic
 6       position in China, our China revenue contributed 59.5% of the Group’s
         overall revenue in 2019, compared to 59.1% in 2018. Eurasia
 7       contributed 14.1% of the overall revenue in 2019, compared to 9.3% in
 8       2018.
 9       (Emphasis added.)
10
11       20.       The 2019 Annual Report stated the following, in pertinent part,
12 regarding SMIC’s business in China, without disclosing its ties to the Chinese
13 military:
14
         Notably, as indicative of future revenue growth, we continued to see new
15       designs using both specialty technology and advanced technology, in
16       particular on 0.18µm, 0.11/0.13µm, 55/65nm, 40/45nm, 28nm and 14nm
         FinFET process technologies. The Group has, in each of its sales
17
         regions, customers utilizing its most competitive specialty technology
18       and advanced node technology. We believe China is rapidly closing the
19       gap with the rest of the world in terms of innovation and design
         capabilities. To fully leverage the market growth potential in China,
20       the Group plans to continue to deepen its collaboration with Chinese
21       customers while broadening relationships with its global customers
         and enable their success in China and various emerging markets, such
22
         as mobile computing, automotive electronics, IoT, high performance
23       computing, 5G, industrial, security and surveillance, Artificial
24       Intelligence (“AI”), and edge computing related applications.

25       SMIC’s role in the China ecosystem is becoming increasingly
26       important as we work hard to provide expanded technology, capacity,
         and solutions to address growing market demands. We are pleased to
27       see growth from both existing and new customers. Meanwhile, we
28       continue our focus to serve an international market, while having the

                                              -6-
               Class Action Complaint for Violation of the Federal Securities Laws
Case 2:20-cv-11219-DDP-AFM Document 1 Filed 12/10/20 Page 7 of 21 Page ID #:7




 1         natural advantage of being close to the largest IC market. SMIC’s aim is
           to be the first-choice in China for a comprehensive range of foundry
 2         services. We are gaining confidence in our ability to steadily climb, with
 3         focused prudent efforts, to become a respected provider in the advanced
           node foundry market.
 4
 5         (Emphasis added.)
 6
           21.   The 2019 Annual Report stated the following, in pertinent part,
 7
     regarding the Company’s controls, risks, and compliance:
 8
 9         The Group has implemented Internal controls and other risk
10         management measures designed to mitigate the principal risks which the
           Group faces in its financial condition and operations, including but not
11         limited to the cyclicality of the semiconductor manufacturing industry,
12         fluctuations in purchase price of raw materials, fluctuations in global
           financial markets and currencies, inability to keep up with technology
13
           migration and difficulty to attract and retain technical and managerial
14         talents.
15
                                        *      *     *
16
17         RISK MANAGEMENT AND INTERNAL CONTROLS
18
           The Board is responsible for ensuring that the Group maintains sound
19         and effective risk management and internal control systems and for
20         overseeing management in the operating of such systems on an ongoing
           basis. Under the Corporate Governance Code issued by HKEX,
21         management should provide a confirmation to the Board on the
22         effectiveness of such systems. The successful risk management and
           internal control systems are designed to ensure the achievement of
23         business objectives in operations, financial reporting and compliance
24         with applicable laws and regulations. They are also designed to
25         manage, rather than completely eliminate, risks impacting the Group’s
           ability to achieve its business objectives. Accordingly, the risk
26         management and internal control systems can only provide reasonable
27         but not absolute assurance that the financial statements do not contain a
           material misstatement or loss.
28

                                            -7-
             Class Action Complaint for Violation of the Federal Securities Laws
Case 2:20-cv-11219-DDP-AFM Document 1 Filed 12/10/20 Page 8 of 21 Page ID #:8




 1       Based on the Enterprise Risk Management — Integrated Framework
         issued by the Committee of Sponsoring Organizations of the Treadway
 2       Commission (“COSO“), the Board supervises the management’s
 3       designing, implementing and monitoring the risk management system to
         ensure the effectiveness of the risk management programs. The
 4
         implementation methods of the management are as follows:
 5
 6       • identifying risks, such as operational risk, strategy risk, market risk,
         legal risk and financial risk, etc.;
 7       • assessing the identified risks by considering the impacts (including
 8       financial, reputation, business continuity & operational) and likelihoods
         of their occurrence;
 9       • designing, operating and monitoring internal control systems, and
10       evaluating the effectiveness of implementation to mitigate and control
         such risks; and
11
         • monitoring the risk early warning index on the material risks.
12
13       The Board has reviewed the effectiveness of risk management and
         internal control systems of the Group once a year and has required
14       strengthening the comprehensive anti-fraud mechanism ensured that
15       the risk management and internal control systems in place are
         effective.
16
17                                    *      *     *
18
         SOCIAL RESPONSIBILITY
19
20       At SMIC, we comply with strict legal requirements for corporate
         governance, financial accounting, and transparent reporting. Our
21       business practices also are ethical, safe, environmental friendly, and
22       fair to our employees, in accordance with all the laws, rules, and
23       regulations of the countries where we operate. In addition to obeying
         the letter and mandates of such laws, we seek to promote their spirits.
24       Through                  our               CSR                Program
25       (http://www.smics.com/en/site/responsibility_social), we hope to
         advance social, environmental, and ethical responsibility according to
26       internationally recognized standards.
27
         (Emphasis added.)
28

                                          -8-
           Class Action Complaint for Violation of the Federal Securities Laws
Case 2:20-cv-11219-DDP-AFM Document 1 Filed 12/10/20 Page 9 of 21 Page ID #:9




 1         22.   On July 7, 2020, SMIC filed with the HKEX its 2019 Corporate Social
 2 Responsibility Report which included a “Message from the Chairman” from
 3 Defendant Zhou which stated the following, in pertinent part, regarding the
 4 Company’s relationships in China and overseas:
 5
           In the past few years, through unprecedented reforms, we have formed
 6         more powerful R&D, operations, supporting and management teams. We
 7         have developed and reserved diversified technology platforms and
           strengthened trusting cooperation with customers and suppliers at
 8
           home and abroad.
 9
10                                        *   *     *

11         While seeking sustainable development, SMIC is committed to caring
12         for people, the environment, and society. We work with industry chain
           partners to implant the concept of sustainable development in all
13         aspects of business operations.
14
           (Emphasis added.)
15
16
           23.   The 2019 Corporate Social Responsibility Report stated the following, in
17
     pertinent part, regarding the Company’s compliance:
18
19         As an international company, SMIC must comply with strict legal
           requirements for corporate governance, financial accounting, and
20
           transparent reporting. Our business practices also must be ethical,
21         safe, environmentally sound, and fair to our employees, in accordance
22         with all the laws, rules, and regulations of the countries where we
           operate.
23
24                                        *   *     *
25         Social Responsibility Policy
26
27         In addition to obeying the letter and mandates of such laws, we seek to
           promote their spirits. Through our CSR Program, we hope to advance
28         social, environmental, and ethical responsibility according to
                                            -9-
             Class Action Complaint for Violation of the Federal Securities Laws
Case 2:20-cv-11219-DDP-AFM Document 1 Filed 12/10/20 Page 10 of 21 Page ID #:10




  1         internationally recognized standards. In short, we intend to remain
            worthy of our inclusion in the Hang Seng Corporate Sustainability Index
 2          Series as a company that has “attained a high standard of performance in
 3          the environmental, social and corporate governance areas”.
 4
                                         *     *      *
 5
 6          Regulatory Compliance

 7          Export Compliance Management
 8
            SMIC establishes an internal compliance program (ICP) to ensure our
 9          compliance with international export control laws and treaties on high-
10          technology products. The United States and many other countries have
            joined the international export control system. Suppliers and customers
11
            in these countries generally need to obtain export licenses to transport
12          controlled items (such as equipment, parts, materials, software, or
13          technology) to China. We, as well as relevant suppliers and customers,
            strictly abide by the restrictions and regulations of these export
14          licenses. We incorporate the internal compliance program into the ICP
15          handbook, including policies and procedures to ensure compliance with
            all legal requirements. Our ICP handbook contains 10 elements[.] [Chart
16
            omitted.]
17
18          In order for all employees to fully understand our internal compliance
            obligations, the CEO issues an export compliance policy statement that
19          must be acknowledged and signed by all employees. Our ICP team
20          conducts regular training and maintains the ICP web page on our
            company intranet. Meanwhile, our ICP compliance is verified in regular
21          audits by vendors and government officials.
22
23          (Emphasis added.)

24
            24.   The 2019 Corporate Social Responsibility Report stated the following, in
25
      pertinent part, regarding the Company’s supply chain and suppliers:
26
27
28

                                            - 10 -
              Class Action Complaint for Violation of the Federal Securities Laws
Case 2:20-cv-11219-DDP-AFM Document 1 Filed 12/10/20 Page 11 of 21 Page ID #:11




  1       Responsible Business Alliance
 2        In 2013, we began assessing our environmental, health, safety, labor, and
 3        ethical management using the Responsible Business Alliance Online
          Risk Assessment (RBA-ON) system, and developing a continuous
 4
          improvement plan for the existing risks. In 2019, the Company and its
 5        plants were rated at low risk upon assessment. We will continue to make
 6        improvement and try to keep the risk at a lower level as far as possible.
          Besides adhering to the RBA Code itself, SMIC also requires suppliers
 7        to comply with the Code and fulfill their social responsibility. Key
 8        suppliers must sign an undertaking to this effect. According to the
          implementation performance of suppliers, we conducted on-site audit on
 9        major domestic suppliers in 2019, and once again promoted the Code.
10
                                           *       *       *
11
12        Supply Chain Management
13
          Supply Chain Overview
14
15        Integrated circuit manufacturing is in the middle of the entire integrated
          circuit industry and is connected with both upstream and downstream
16
          industries. As a large local company in China, we procure a wide
17        variety of products and materials including production equipment,
18        maintenance parts, raw materials, factory facilities, firefighting
          facilities, and professional services. We strive for mutually beneficial
19        cooperation with suppliers to help improve overall social responsibility
20        management capabilities in our supply chain, reduce risk, safeguard
          stable production and operation, and ensure high-quality customer
21        service.
22
23                                     *       *       *

24        Supplier Management Mechanism
25
          SMIC has established a sound supplier management system, specially to
26        manage key links in our supply chain. These include supplier access
27        regulations, supplier evaluation regulations and supplier promotion
          regulations.
28

                                          - 11 -
            Class Action Complaint for Violation of the Federal Securities Laws
Case 2:20-cv-11219-DDP-AFM Document 1 Filed 12/10/20 Page 12 of 21 Page ID #:12




  1
          Supplier Admittance
 2
 3        We have developed an access assessment mechanism for new and
          alternative suppliers. The departments involved in the supplier
 4
          admittance assessment the Quality Management                Department,
 5        Environmental/Safety/ Hygiene Department, CSR Department,
 6        Procurement Department, and user organizations. They assess suppliers
          in areas including product quality parameters, supplier quality, supplier
 7        environmental/ safety/hygiene, human rights, business ethics,
 8        warehousing/logistics, after-sales service management, production, and
          product usage. Suppliers can be included in our approved vendor list and
 9        considered for contracts only after they meet our relevant qualification
10        requirements with a satisfactory score.
11
          Supplier Assessment and Evaluation
12
13        Supplier Quality and Business Assessment and Evaluation
14        We monitor supply chain risks using an assessment and evaluation
15        mechanism for contracted suppliers. We score them every six months
          based on scoring indexes covering areas including quality, cost, delivery,
16
          service, safety, and environmental performance. For projects that fail to
17        reach the standards, the supplier must provide an improvement plan and
18        make improvements within a certain period.

19        (Emphasis added.)
20
21        25.   On August 6, 2020, SMIC filed with the HKEX its Unaudited Results
22 for the Three Months Ended June 30, 2020 which quoted Defendants Zhao and Liang
23 touting the Company’s Chinese and international business: “SMIC is committed to
24 innovation and development, capturing domestic and international opportunities,
25 providing quality products and services to an increasing number of customers
26 locally and globally, and driving the company’s continued growth.” (Emphasis
27 added.)
28

                                          - 12 -
            Class Action Complaint for Violation of the Federal Securities Laws
Case 2:20-cv-11219-DDP-AFM Document 1 Filed 12/10/20 Page 13 of 21 Page ID #:13




  1         26.    The statements referenced in ¶¶18-25 above were materially false and/or
 2 misleading because they misrepresented and failed to disclose the following adverse
 3 facts pertaining to the Company’s business, operational and financial results, which
 4 were known to Defendants or recklessly disregarded by them. Specifically,
 5 Defendants made false and/or misleading statements and/or failed to disclose that: (1)
 6
      there was an “unacceptable risk” that equipment supplied to SMIC would be used for
 7
      military purposes; (2) SMIC was foreseeably at risk of facing U.S. restrictions; (3) as
 8
      a result of restrictions by the U.S. Department of Commerce, certain of SMIC’s
 9
      suppliers would need “difficult-to-obtain” individual export licenses; and (4) as a
10
      result, Defendants’ public statements were materially false and/or misleading at all
11
      relevant times.
12
                                   THE TRUTH EMERGES
13
14          27.    On September 4, 2020, after market hours, Reuters published an article

15 entitled “EXCLUSIVE-Trump administration weighs blacklisting China's chipmaker
16 SMIC” which announced the following, in pertinent part:
17          The Trump administration is considering whether to add China’s top
18          chipmaker SMIC to a trade blacklist, a Defense Department official said
            on Friday, as the United States escalates its crackdown on Chinese
19          companies.
20
            A Pentagon spokeswoman said the Defense Department was working
21
            with other agencies to determine whether to make the move against
22          Semiconductor Manufacturing International Corporation, which would
23          force U.S. suppliers to seek a difficult-to-obtain license before shipping
            to the company
24
25          28.    On this news, SMIC’s ADR price fell $3.08 per ADR, or over 20%, to
26 close at $12.02 per ADR on September 8, 2020, the next trading day.
27
28

                                            - 13 -
              Class Action Complaint for Violation of the Federal Securities Laws
Case 2:20-cv-11219-DDP-AFM Document 1 Filed 12/10/20 Page 14 of 21 Page ID #:14




  1         29.    On September 26, 2020, Reuters published an article entitled “U.S.
 2 tightens exports to China's chipmaker SMIC, citing risk of military use” which
 3 announced the following, in pertinent part:
 4
            The United States has imposed restrictions on exports to China’s biggest
 5
            chip maker SMIC after concluding there is an “unacceptable risk”
 6          equipment supplied to it could be used for military purposes.
 7
            Suppliers of certain equipment to Semiconductor Manufacturing
 8          International Corporation 0981.HK will now have to apply for individual
 9          export licenses, according to a letter from the Commerce Department
            dated Friday and seen by Reuters.
10
11          30.    On this news, SMIC’s ADR price fell $0.57 per ADR, or 4.7%, to close
12
      at $11.47 per ADR on September 28, 2020, the next trading day.
13
            31.    As a result of Defendants’ wrongful acts and omissions, and the decline
14
      in the market value of the Company’s securities, Plaintiff and other Class members
15
      have suffered significant losses and damages.
16
                      PLAINTIFF’S CLASS ACTION ALLEGATIONS
17
            32.    Plaintiff brings this action as a class action pursuant to Federal Rule of
18
      Civil Procedure 23(a) and (b)(3) on behalf of a class consisting of all persons other
19
      than defendants who acquired SMIC securities publicly traded on the OTCQX market
20
      during the Class Period, and who were damaged thereby (the “Class”). Excluded
21
      from the Class are Defendants, the officers and directors of SMIC and its
22
      subsidiaries, members of the Individual Defendants’ immediate families and their
23
      legal representatives, heirs, successors or assigns and any entity in which Defendants
24
      have or had a controlling interest.
25
            33.    The members of the Class are so numerous that joinder of all members is
26
      impracticable. Throughout the Class Period, SMIC securities were actively traded on
27
      the OTCQX market. While the exact number of Class members is unknown to
28

                                             - 14 -
               Class Action Complaint for Violation of the Federal Securities Laws
Case 2:20-cv-11219-DDP-AFM Document 1 Filed 12/10/20 Page 15 of 21 Page ID #:15




  1 Plaintiff at this time and can be ascertained only through appropriate discovery,
 2 Plaintiff believes that there are hundreds, if not thousands of members in the
 3 proposed Class.
 4         34.     Plaintiff’s claims are typical of the claims of the members of the Class as
 5 all members of the Class are similarly affected by defendants’ wrongful conduct in
 6 violation of federal law that is complained of herein.
 7         35.     Plaintiff will fairly and adequately protect the interests of the members
 8 of the Class and has retained counsel competent and experienced in class and
 9 securities litigation. Plaintiff has no interests antagonistic to or in conflict with those
10 of the Class.
11         36.     Common questions of law and fact exist as to all members of the Class
12 and predominate over any questions solely affecting individual members of the Class.
13 Among the questions of law and fact common to the Class are:
14         •       whether the federal securities laws were violated by Defendants’ acts as
15                 alleged herein;
16         •       whether statements made by Defendants to the investing public during
17                 the Class Period misrepresented material facts about the financial
18                 condition, business, operations, and management of the Company;
19         •       whether Defendants’ public statements to the investing public during the
20                 Class Period omitted material facts necessary to make the statements
21                 made, in light of the circumstances under which they were made, not
22                 misleading;
23         •       whether the Individual Defendants caused the Company to issue false
24                 and misleading public statements during the Class Period;
25         •       whether Defendants acted knowingly or recklessly in issuing false and
26                 misleading public statements during the Class Period;
27
28

                                             - 15 -
               Class Action Complaint for Violation of the Federal Securities Laws
Case 2:20-cv-11219-DDP-AFM Document 1 Filed 12/10/20 Page 16 of 21 Page ID #:16




  1        •       whether the prices of the Company’s securities during the Class Period
 2                 were artificially inflated because of the Defendants’ conduct complained
 3                 of herein; and
 4         •       whether the members of the Class have sustained damages and, if so,
 5                 what is the proper measure of damages.
 6         37.     A class action is superior to all other available methods for the fair and
 7 efficient adjudication of this controversy since joinder of all members is
 8 impracticable. Furthermore, as the damages suffered by individual Class members
 9 may be relatively small, the expense and burden of individual litigation make it
10 impossible for members of the Class to individually redress the wrongs done to them.
11 There will be no difficulty in the management of this action as a class action.
12         38.     Plaintiff will rely, in part, upon the presumption of reliance established
13 by the fraud-on-the-market doctrine in that:
14         •       Defendants made public misrepresentations or failed to disclose material
15                 facts during the Class Period;
16         •       the omissions and misrepresentations were material;
17         •       the Company’s securities are traded in efficient markets;
18         •       the Company’s securities were liquid and traded with moderate to heavy
19                 volume during the Class Period;
20         •       the Company’s securities traded on the OTCQX market, and was
21                 covered by multiple analysts;
22         •       the misrepresentations and omissions alleged would tend to induce a
23                 reasonable investor to misjudge the value of the Company’s securities;
24                 and
25         •       Plaintiff and members of the Class purchased and/or sold the Company’s
26                 securities between the time the Defendants failed to disclose or
27                 misrepresented material facts and the time the true facts were disclosed,
28                 without knowledge of the omitted or misrepresented facts.

                                             - 16 -
               Class Action Complaint for Violation of the Federal Securities Laws
Case 2:20-cv-11219-DDP-AFM Document 1 Filed 12/10/20 Page 17 of 21 Page ID #:17




  1          39.     Based upon the foregoing, Plaintiff and the members of the Class are
 2 entitled to a presumption of reliance upon the integrity of the market.
 3           40.     Alternatively, Plaintiff and the members of the Class are entitled to the
 4 presumption of reliance established by the Supreme Court in Affiliated Ute Citizens of
 5 the State of Utah v. United States, 406 U.S. 128, 92 S. Ct. 2430 (1972), as Defendants
 6 omitted material information in their Class Period statements in violation of a duty to
 7 disclose such information, as detailed above.
 8
 9                                           COUNT I
10               Violation of Section 10(b) of The Exchange Act and Rule 10b-5
11                                   Against All Defendants
             41.     Plaintiff repeats and realleges each and every allegation contained above
12
      as if fully set forth herein.
13
             42.     This Count is asserted against the Company and the Individual
14
      Defendants and is based upon Section 10(b) of the Exchange Act, 15 U.S.C. § 78j(b),
15
      and Rule 10b-5 promulgated thereunder by the SEC.
16
             43.     During the Class Period, the Company and the Individual Defendants,
17
      individually and in concert, directly or indirectly, disseminated or approved the false
18
      statements specified above, which they knew or deliberately disregarded were
19
      misleading in that they contained misrepresentations and failed to disclose material
20
      facts necessary in order to make the statements made, in light of the circumstances
21
      under which they were made, not misleading.
22
             44.     The Company and the Individual Defendants violated §10(b) of the 1934
23
      Act and Rule 10b-5 in that they:
24
             •       employed devices, schemes and artifices to defraud;
25
             •       made untrue statements of material facts or omitted to state material
26
                     facts necessary in order to make the statements made, in light of the
27
                     circumstances under which they were made, not misleading; or
28

                                               - 17 -
                 Class Action Complaint for Violation of the Federal Securities Laws
Case 2:20-cv-11219-DDP-AFM Document 1 Filed 12/10/20 Page 18 of 21 Page ID #:18




  1        •       engaged in acts, practices and a course of business that operated as a
 2                 fraud or deceit upon plaintiff and others similarly situated in connection
 3                 with their purchases of the Company’s securities during the Class
 4                 Period.
 5         45.     The Company and the Individual Defendants acted with scienter in that
 6 they knew that the public documents and statements issued or disseminated in the
 7 name of the Company were materially false and misleading; knew that such
 8 statements or documents would be issued or disseminated to the investing public; and
 9 knowingly and substantially participated, or acquiesced in the issuance or
10 dissemination of such statements or documents as primary violations of the securities
11 laws. These defendants by virtue of their receipt of information reflecting the true
12 facts of the Company, their control over, and/or receipt and/or modification of the
13 Company’s allegedly materially misleading statements, and/or their associations with
14 the Company which made them privy to confidential proprietary information
15 concerning the Company, participated in the fraudulent scheme alleged herein.
16         46.     Individual Defendants, who are the senior officers and/or directors of
17 the Company, had actual knowledge of the material omissions and/or the falsity of
18 the material statements set forth above, and intended to deceive Plaintiff and the other
19 members of the Class, or, in the alternative, acted with reckless disregard for the truth
20 when they failed to ascertain and disclose the true facts in the statements made by
21 them or other personnel of the Company to members of the investing public,
22 including Plaintiff and the Class.
23         47.     As a result of the foregoing, the market price of the Company’s
24 securities were artificially inflated during the Class Period. In ignorance of the falsity
25 of the Company’s and the Individual Defendants’ statements, Plaintiff and the other
26 members of the Class relied on the statements described above and/or the integrity of
27 the market price of the Company’s securities during the Class Period in purchasing
28

                                             - 18 -
               Class Action Complaint for Violation of the Federal Securities Laws
Case 2:20-cv-11219-DDP-AFM Document 1 Filed 12/10/20 Page 19 of 21 Page ID #:19




  1 the Company’s securities at prices that were artificially inflated as a result of the
 2 Company’s and the Individual Defendants’ false and misleading statements.
 3         48.    Had Plaintiff and the other members of the Class been aware that the
 4 market price of the Company’s securities had been artificially and falsely inflated by
 5 the Company’s and the Individual Defendants’ misleading statements and by the
 6 material adverse information which the Company’s and the Individual Defendants did
 7 not disclose, they would not have purchased the Company’s securities at the
 8 artificially inflated prices that they did, or at all.
 9         49.     As a result of the wrongful conduct alleged herein, Plaintiff and other
10 members of the Class have suffered damages in an amount to be established at trial.
11         50.    By reason of the foregoing, the Company and the Individual Defendants
12 have violated Section 10(b) of the 1934 Act and Rule 10b-5 promulgated thereunder
13 and are liable to the Plaintiff and the other members of the Class for substantial
14 damages which they suffered in connection with their purchases of the Company’s
15 securities during the Class Period.
16                                           COUNT II
17                      Violation of Section 20(a) of The Exchange Act
18                            Against The Individual Defendants
           51.    Plaintiff repeats and realleges each and every allegation contained in the
19
     foregoing paragraphs as if fully set forth herein.
20
           52.    During the Class Period, the Individual Defendants participated in the
21
     operation and management of the Company, and conducted and participated, directly
22
     and indirectly, in the conduct of the Company’s business affairs. Because of their
23
     senior positions, they knew the adverse non-public information regarding the
24
     Company’s business practices.
25
           53.    As officers and/or directors of a publicly owned company, the Individual
26
     Defendants had a duty to disseminate accurate and truthful information with respect
27
     to the Company’s financial condition and results of operations, and to correct
28

                                            - 19 -
              Class Action Complaint for Violation of the Federal Securities Laws
Case 2:20-cv-11219-DDP-AFM Document 1 Filed 12/10/20 Page 20 of 21 Page ID #:20




  1 promptly any public statements issued by the Company which had become materially
 2 false or misleading.
 3        54.    Because of their positions of control and authority as senior officers, the
 4 Individual Defendants were able to, and did, control the contents of the various
 5 reports, press releases and public filings which the Company disseminated in the
 6 marketplace during the Class Period. Throughout the Class Period, the Individual
 7 Defendants exercised their power and authority to cause the Company to engage in
 8 the wrongful acts complained of herein. The Individual Defendants therefore, were
 9 “controlling persons” of the Company within the meaning of Section 20(a) of the
10 Exchange Act. In this capacity, they participated in the unlawful conduct alleged
11 which artificially inflated the market price of the Company’s securities.
12        55.    Each of the Individual Defendants, therefore, acted as a controlling
13 person of the Company. By reason of their senior management positions and/or being
14 directors of the Company, each of the Individual Defendants had the power to direct
15 the actions of, and exercised the same to cause, the Company to engage in the
16 unlawful acts and conduct complained of herein. Each of the Individual Defendants
17 exercised control over the general operations of the Company and possessed the
18 power to control the specific activities which comprise the primary violations about
19 which Plaintiff and the other members of the Class complain.
20        56.    By reason of the above conduct, the Individual Defendants are liable
21 pursuant to Section 20(a) of the Exchange Act for the violations committed by the
22 Company.
23                                PRAYER FOR RELIEF
24        WHEREFORE, Plaintiff demands judgment against Defendants as follows:
25        A.     Determining that the instant action may be maintained as a class action
26 under Rule 23 of the Federal Rules of Civil Procedure, and certifying Plaintiff as the
27 Class representative;
28

                                           - 20 -
             Class Action Complaint for Violation of the Federal Securities Laws
Case 2:20-cv-11219-DDP-AFM Document 1 Filed 12/10/20 Page 21 of 21 Page ID #:21




  1       B.     Requiring Defendants to pay damages sustained by Plaintiff and the
 2 Class by reason of the acts and transactions alleged herein;
 3        C.     Awarding Plaintiff and the other members of the Class prejudgment and
 4 post-judgment interest, as well as their reasonable attorneys’ fees, expert fees and
 5 other costs; and
 6        D.     Awarding such other and further relief as this Court may deem just and
 7 proper.
 8
                                JURY TRIAL DEMANDED
 9
          Plaintiff hereby demands a trial by jury.
10
11 Dated: December 10, 2020                Respectfully submitted,
12
13                                         THE ROSEN LAW FIRM, P.A.
14                                         /s/ Laurence M. Rosen
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                                           - 21 -
             Class Action Complaint for Violation of the Federal Securities Laws
